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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
CLAUDIO DAREZZO,                                                          Civil Action No.:
                                                                        1:23-cv-09090-VEC
                                            Plaintiff,

                      -against-
                                                                     CLERKS CERTIFICATE
                                                                         OF DEFAULT
RECREATIONAL PLUS LEV INC.
AND 84 HOYT LLC,

                                             Defendants.
-----------------------------------------------------X

        I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on

October 16, 2023 with the filing of a summons and complaint, a copy of the summons and

complaint was served on Defendant, Recreational Plus Lev Inc. by service to Nancy

Dougherty, Legal Clerk for Secretary of State, and proof of service was therefore filed on

November 13, 2023, Doc. #8.

        I further certify that the docket entries indicate that Defendant, Recreational Plus

Lev Inc. has not filed an answer or otherwise moved with respect to the complaint herein.

The default of the defendant is hereby noted.

Dated: New York, New York
               10 2024
       January___,


                                                                 RUBY J. KRAJICK
                                                                   Clerk of Court

                                                           By: __________________________
                                                                    Deputy Clerk
